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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE: PROVIDER MEDS, LLC,                      §   CASE NO. 13-30678
                                                §
               Debtor.                          §
                                                §   CHAPTER 7
TECH PHARMACY SERVICES, INC.,                   §
                                                §   ADVERSARY PROCEEDING
               Plaintiff,                       §   NO. 15-03101
vs.                                             §
                                                §
RPD HOLDINGS, LLC,                              §
                                                §   Removed from the 162nd Judicial District
               Defendant/Intervenor.            §   Court for Dallas County, Texas,
                                                §   Cause No. DC-15-05744

                                     NOTICE OF APPEAL

        RPD HOLDINGS, LLC, hereby appeals to the United States District Court for the

Northern District of Texas, pursuant to 28 U.S.C. § 158(a), that certain Final Judgment entered

on February 3, 2017 at docket number 96, together with that certain Findings of Fact and

Conclusions of Law Following Trial, entered on January 18, 2017 at docket number 93. The

names of the parties to said order, and the contact information for their attorneys, is as follows:

        1.     RPD Holdings, LLC

               Represented by:
               Davor Rukavina, Esq.
               Munsch Hardt Kopf & Harr, P.C.
               3800 Lincoln Plaza
               500 N. Akard Street
               Dallas, Texas 75201
               Telephone: (214) 855-7587
               Facsimile: (214) 978-5359




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     Case 3:17-cv-00441-D Document 1-1 Filed 02/16/17             Page 2 of 26 PageID 5


         2.        Tech Pharmacy Services, LLC d/b/a Advanced Pharmacy Services

                   Represented by:
                   David Bass, Esq.
                   Cole Schotz, P.C.
                   1325 Avenue of the Americas
                   19th Floor
                   New York, New York, 10019-6079
                   Telephone: (646) 563-8932
                   Facsimile: (646) 563-7932

         RESPECTFULLY SUBMITTED this 14th day of February, 2017.

                                             MUNSCH HARDT KOPF & HARR, P.C.


                                             By: /s/ Davor Rukavina
                                                 Davor Rukavina, Esq.
                                                 Texas Bar No. 24030781
                                                 3800 Lincoln Plaza
                                                 500 North Akard
                                                 Dallas, Texas 75201
                                                 Telephone: (214) 855-7500
                                                 Facsimile: (214) 855-7584

                                             ATTORNEYS FOR RPD HOLDINGS, LLC




                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on this the 14th day of February, 2017, true and
correct copies of this document were electronically served by the Court’s ECF system on parties
entitled to notice thereof, including on counsel for Tech Pharmacy Services, LLC.


                                             By: /s/ Davor Rukavina
                                                 Davor Rukavina, Esq.




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The following constitutes the ruling of the court and has the force and effect therein described.



Signed February 3, 2017
                                           United States Bankruptcy Judge
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

      IN RE: PROVIDER MEDS, LLC,                    §   CASE NO. 13-30678
                                                    §
                     Debtor.                        §
                                                    §   CHAPTER 7
      TECH PHARMACY SERVICES, INC.,                 §
                                                    §
                     Plaintiff,                     §
      vs.                                           §
                                                    §
      REEF GILLUM, et al.,                          §   ADVERSARY PROCEEDING
                                                    §   NO. 15-03101
                     Defendants,                    §
      and                                           §
                                                    §
      RPD HOLDINGS, LLC,                            §   Removed from the 162nd Judicial District
                                                    §   Court for Dallas County, Texas,
                     Intervenor.                    §   Cause No. DC-15-05744
                                                    §

                                          FINAL JUDGMENT

             On January 11, 2017, came on for trial (the “Trial”) in the above-captioned adversary

     proceeding, which had been removed from 162nd Judicial District Court for Dallas County, Texas,

     FINAL JUDGMENT—Page 1
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the issue of whether a license agreement embodied in the License1 was sold, assigned or otherwise

transferred to RPD Holdings, LLC (“RPD”) in certain of the Onsite Parties’ bankruptcy cases by

prior Order of this Court. After due deliberation, and upon the evidence adduced at Trial and the

arguments of counsel for RPD and Tech Pharmacy Services, LLC (“Tech Pharm”) advanced in

the trial briefs and at the Trial, the Court finds that (i) it has jurisdiction over the matters addressed

at the Trial pursuant to 28 U.S.C. § 1334, (ii) venue is proper pursuant to 28 U.S.C. § 1409, (iii)

this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O); and (iv) the parties have

consented to entry of a final order and judgment adjudicating this matter by this Court.

        Accordingly, for the reasons set forth in the Findings of Fact and Conclusions of Law

Following Trial, it is

        ORDERED, ADJUDGED AND DECREED that the License was not sold, assigned or

otherwise transferred to RPD in any of the Onsite Parties’ bankruptcy cases by a prior Order of

this Court. It is further

        ORDERED, ADJUDGED AND DECREED that RPD therefore did not acquire any

rights in the License in any of the Onsite Parties’ bankruptcy cases by a prior Order of this Court.

It is further

        ORDERED, ADJUDGED AND DECREED that RPD failed to prove that any of the

ADS Machines that RPD acquired from Grapevine Estate and/or the W. Pa. Estate are “Onsite

Machines” within the meaning of the License. It is further

        ORDERED, ADJUDGED AND DECREED that to the extent that any of the ADS

Machines that RPD acquired from Grapevine Estate and the W. Pa. Estate are “Onsite Machines”


1
 Capitalized terms not otherwise defined herein shall have the meaning in the Court’s Findings of Fact and
Conclusions of Law Following Trial, signed and entered January 18, 2017 [Adv. Proc. Docket No. 93] (the
“Findings of Fact and Conclusions of Law Following Trial”).


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within the meaning of the License, such Machines must, pursuant to the License, be used in the

same LTCF as they were at the time the License was signed. It is further

        ORDERED, ADJUDGED AND DECREED that the parties are to bear their own

attorneys’ fees and costs. It is further

        ORDERED, ADJUDGED AND DECREED that this Judgment fully and finally disposes

of all parties and claims which the parties agreed would be tried by this Court (as described above).

It is further

        ORDERED, ADJUDGED AND DECREED that nothing herein is intended to modify

the fourth decretal paragraph of this Court’s Order on Motion to Compel RPD Holdings, LLC to

Respond to Plaintiff’s Request for Production of Documents, which was entered on December 23,

2016 [Adv. Proc. Docket No. 76] (the “December 23 Order”) or serve to adjudicate, or constitute

res judicata, with respect to, any claim, cause of action, defense or issue preserved under that

decretal paragraph. It is further

        ORDERED, ADJUDGED AND DECREED that, except to the extent preserved by the

fourth decretal paragraph of the December 23 Order, the Original Petition in Intervention of RPD

Holdings, LLC dated August 7, 2015 (the “Original Petition in Intervention”), which Original

Petition was removed by RPD and docketed in this adversary proceeding on August 17, 2015

[Adv. Proc. Docket No. 8], is denied with prejudice. It is further

        ORDERED, ADJUDGED AND DECREED that nothing herein is intended to alter,

modify or otherwise limit the Stipulation and Agreed Order Dismissing Various Parties Without

Prejudice (the “Dismissal Stipulation and Order”) agreed to by, among others, RPD and Tech

Pharm, which Dismissal Stipulation and Order was approved by this Court and entered on the

docket in this adversary proceeding on August 19, 2016 [Adv. Proc. Docket No. 44]. It is further


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          ORDERED, ADJUDGED AND DECREED that this Court shall retain jurisdiction to

hear and consider all matters arising from the implementation, enforcement and interpretation of

the Findings of Fact and Conclusions of Law Following Trial, this Judgment or the relief granted

herein.



                                ### END OF JUDGMENT ###




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                                                                                  APPEAL, FUNDS


                                  U.S. Bankruptcy Court
                             Northern District of Texas (Dallas)
                            Adversary Proceeding #: 15-03101-bjh
                                         Internal Use Only

 Assigned to: Barbara J. Houser                              Date Filed: 08/13/15
 Lead BK Case: 13-30678
 Lead BK Title: Provider Meds, LP
 Lead BK Chapter: 7
 Demand:
 Nature[s] of Suit: 01 Determination of removed claim or cause


Plaintiff
-----------------------
Tech Pharm Services, Inc.                       represented by David M. Bass
                                                               Cole Schotz P.C.
                                                               1325 Avenue of the Americas
                                                               19th Floor
                                                               New York, NY 10019
                                                               646-563-8932
                                                               Fax : 646-563-7932
                                                               LEAD ATTORNEY

                                                              Nicholas Brannick
                                                              Cole Schotz P.C.
                                                              500 Delaware Ave.
                                                              Wilmington, DE 19801
                                                              302-652-3131
                                                              Fax : 302-652-3117
                                                              Email: nbrannick@coleschotz.com

                                                              Patrick Kelley
                                                              Ireland, Carroll and Kelley, P.C.
                                                              6101 S. Broadway, Suite 500
                                                              Tyler, TX 75703
                                                              903-561-1600
                                                              Fax : 903-581-1071
                                                              Email: patkelley@icklaw.com

                                                              Gregory Love, Esq.
                                                              P.O. Box 948
                                                              Henderson, TX 75653-0948
                                                              LEAD ATTORNEY

                                                              Michael D. Warner




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                                                              Cole Schotz P.C.
                                                              1700 City Center Tower II
                                                              301 Commerce St.
                                                              Fort Worth, TX 76102
                                                              (817)810-5250
                                                              Fax : (817)810-5255
                                                              Email: mwarner@coleschotz.com


Plaintiff
-----------------------
Tech Pharmacy Services, LLC                     represented by Michael D. Warner
                                                               (See above for address)


V.

Defendant
-----------------------
Reef R. Gillum                                  represented by Zachery Z. Annable
330 Kings Court                                                Franklin Hayward LLP
Forney, TX 75126                                               10501 N. Central Expressway
SSN / ITIN: XXX-XX-XXXX                                        Suite 106
TERMINATED: 08/19/2016                                         Dallas, TX 75231
                                                               (972) 755-7108
                                                               Fax : (888) 531-9102
                                                               Email: zannable@franklinhayward.com
                                                               TERMINATED: 08/19/2016

                                                              Davor Rukavina
                                                              Munsch, Hardt, Kopf & Harr
                                                              500 N. Akard Street, Ste 3800
                                                              Dallas, TX 75201-6659
                                                              (214)855-7587
                                                              Fax : 214-978-5359
                                                              Email: drukavina@munsch.com
                                                              TERMINATED: 08/19/2016
                                                              LEAD ATTORNEY


Defendant
-----------------------
ProvideRX of Waco, LLC                          represented by ProvideRX of Waco, LLC
PO Box 2176                                                    PRO SE
Forney, TX 75126
Tax ID / EIN: XX-XXXXXXX


Defendant
-----------------------




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ProviderRx of San Antonio, LLC                  represented by ProviderRx of San Antonio, LLC
                                                               PRO SE




Defendant
-----------------------
ProviderRx of Midland, LLC                      represented by ProviderRx of Midland, LLC
                                                               PRO SE




Defendant
-----------------------
Pharmacy Technologies, Inc.                     represented by Pharmacy Technologies, Inc.
                                                               PRO SE




Defendant
-----------------------
OnSiteRx of Texas, LLC                          represented by Davor Rukavina
TERMINATED: 08/19/2016                                         (See above for address)
                                                               TERMINATED: 08/19/2016

                                                             Davor Rukavina, Esq.
                                                             3800 Lincoln Plaza
                                                             500 N. Akard Street
                                                             Dallas, TX 75201
                                                             214 855-7500
                                                             TERMINATED: 08/19/2016
                                                             LEAD ATTORNEY


Defendant
-----------------------
Ascribe Rx Holdings, LLC                        represented by Davor Rukavina
TERMINATED: 08/19/2016                                         (See above for address)
                                                               TERMINATED: 08/19/2016

                                                             Davor Rukavina, Esq.
                                                             (See above for address)
                                                             TERMINATED: 08/19/2016
                                                             LEAD ATTORNEY


Defendant




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-----------------------
Ascribe Rx Services, LLC                        represented by Davor Rukavina
TERMINATED: 08/19/2016                                         (See above for address)
                                                               TERMINATED: 08/19/2016

                                                              Davor Rukavina, Esq.
                                                              (See above for address)
                                                              TERMINATED: 08/19/2016
                                                              LEAD ATTORNEY


Defendant
-----------------------
Ascribe Rx Management, LLC                      represented by Davor Rukavina
TERMINATED: 08/19/2016                                         (See above for address)
                                                               TERMINATED: 08/19/2016

                                                              Davor Rukavina, Esq.
                                                              (See above for address)
                                                              TERMINATED: 08/19/2016
                                                              LEAD ATTORNEY


Defendant
-----------------------
Ascribe Rx Technologies, LLC                    represented by Davor Rukavina
TERMINATED: 08/19/2016                                         (See above for address)
                                                               TERMINATED: 08/19/2016

                                                              Davor Rukavina, Esq.
                                                              (See above for address)
                                                              TERMINATED: 08/19/2016
                                                              LEAD ATTORNEY


Defendant
-----------------------
Ascribe Rx Services of Texas, LLC               represented by Davor Rukavina
TERMINATED: 08/19/2016                                         (See above for address)
                                                               TERMINATED: 08/19/2016

                                                              Davor Rukavina, Esq.
                                                              (See above for address)
                                                              TERMINATED: 08/19/2016
                                                              LEAD ATTORNEY


Defendant
-----------------------
OnSiteRx Services, Inc.                         represented by OnSiteRx Services, Inc.




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                                                                 PRO SE




Intervenor
-----------------------
RPD Holdings, LLC                                  represented by Thomas Daniel Berghman
                                                                  Munsch Hardt Kopf & Harr PC
                                                                  500 N Akard Street, Suite 3800
                                                                  Dallas, TX 75201-6659
                                                                  (214) 855-7554
                                                                  Fax : (214) 978-4346
                                                                  Email: tberghman@munsch.com

                                                                 Davor Rukavina
                                                                 (See above for address)

                                                                 Davor Rukavina, Esq.
                                                                 (See above for address)
                                                                 LEAD ATTORNEY


   Filing Date                                          Docket Text

                       1 (7 pgs; 2 docs) Adversary case 15-03101. Complaint by Tech Pharm
                    Services, Inc. against Reef R. Gillum, ProvideRX of Waco, LLC, ProviderRx of
                    San Antonio, LLC, ProviderRx of Midland, LLC, Pharmacy Technologies, Inc.,
                    OnSiteRx of Texas, LLC, Ascribe Rx Holdings, LLC, Ascribe Rx Services, LLC,
                    Ascribe Rx Management, LLC, Ascribe Rx Technologies, LLC, Ascribe Rx
                    Services of Texas, LLC, RPD Holdings, LLC. Fee Amount $350 (Attachments: #
                    1 Adversary Cover Sheet). Nature(s) of suit: 01 (Determination of removed claim
 08/13/2015         or cause). (Rukavina, Davor) MODIFIED text on 8/14/2015 (Cumby, C).

                      Receipt of filing fee for Complaint(15-03101-bjh) [cmp,cmp] ( 350.00). Receipt
 08/13/2015         number 21033481, amount $ 350.00 (re: Doc# 1). (U.S. Treasury)

 08/14/2015               (private) Case checked for completeness (Cumby, C)

                       2 (3 pgs) Notice of hearing (Status Conference) filed by Defendants Ascribe
                    Rx Holdings, LLC, Ascribe Rx Management, LLC, Ascribe Rx Services of Texas,
                    LLC, Ascribe Rx Services, LLC, Ascribe Rx Technologies, LLC, OnSiteRx of
                    Texas, LLC, Intervenor RPD Holdings, LLC (RE: related document(s)1
                    Complaint filed by Plaintiff Tech Pharm Services, Inc.). Status Conference to be
 08/17/2015         held on 9/14/2015 at 09:00 AM at Dallas Judge Houser Ctrm. (Rukavina, Davor)

                      3 (26 pgs) Support/supplemental document State Court Document--Original
                    Petition filed by Intervenor RPD Holdings, LLC (RE: related document(s)1
 08/17/2015         Complaint). (Rukavina, Davor)




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                     4 (8 pgs) Support/supplemental document State Court Document--Amended
                   Petition filed by Intervenor RPD Holdings, LLC (RE: related document(s)1
 08/17/2015        Complaint). (Rukavina, Davor)

                      5 (2 pgs) Support/supplemental document State Court Document--Return of
                   Citation Reef Gillum filed by Intervenor RPD Holdings, LLC (RE: related
 08/17/2015        document(s)1 Complaint). (Rukavina, Davor)

                     6 (6 pgs) Support/supplemental document State Court Document--Original
                   Answer Reef Gillum filed by Intervenor RPD Holdings, LLC (RE: related
 08/17/2015        document(s)1 Complaint). (Rukavina, Davor)

                     7 (7 pgs) Support/supplemental document State Court Document--Original
                   Answer and Counterclaims of OnSiteRx of Texas, LLC, AscribeRx Holdings, LLC,
                   AscribeRx Services, LLC, AscribeRx Management, LLC, AscribeRx Technologies,
                   LLC, and AscribeRx Services of Texas, LLC filed by Intervenor RPD Holdings,
 08/17/2015        LLC (RE: related document(s)1 Complaint). (Rukavina, Davor)

                      8 (9 pgs) Support/supplemental document State Court Document--Petition in
                   Intervention of RPD Holdings, LLC filed by Intervenor RPD Holdings, LLC (RE:
 08/17/2015        related document(s)1 Complaint). (Rukavina, Davor)

                      9 (7 pgs) Support/supplemental document State Court Document--Notice of
                   Removal of Action filed by Intervenor RPD Holdings, LLC (RE: related document
 08/17/2015        (s)1 Complaint). (Rukavina, Davor)

                     10 (3 pgs) Notice of hearing (Reset Status Conference) filed by Intervenor RPD
                   Holdings, LLC (RE: related document(s)1 Complaint filed by Plaintiff Tech
                   Pharm Services, Inc.). Hearing to be held on 9/16/2015 at 01:15 PM Dallas Judge
 08/24/2015        Houser Ctrm for 1, (Rukavina, Davor)

                     11 (3 pgs) Declaration re: - Statement Pursuant to Rule 9027(e)(3) by James W.
                   Cunningham, Ch. 7 Trustee filed by Defendant ProviderRx of San Antonio, LLC
                   (RE: related document(s)1 Complaint, 10 Notice of hearing). (Cunningham,
 09/10/2015        James)

                       12 (5 pgs) Notice (Bankruptcy Rule 9027(e)(3) Statement of Defendant Reef
                   Gillum) filed by Defendant Reef R. Gillum (RE: related document(s)1 Complaint
 09/10/2015        filed by Plaintiff Tech Pharm Services, Inc.). (Annable, Zachery)

                       13 (3 pgs) Notice of Appearance and Request for Notice by Patrick Kelley
 09/10/2015        filed by Plaintiff Tech Pharm Services, Inc.. (Kelley, Patrick)

                      14 (43 pgs; 3 docs) Response opposed to (related document(s): 12 Notice
                   (generic) filed by Defendant Reef R. Gillum) filed by Plaintiff Tech Pharm
                   Services, Inc.. (Attachments: # 1 Exhibit A-Compromise, Settlement Release &
 09/10/2015        License Agreement # 2 Exhibit B-June 26, 2015 letter) (Kelley, Patrick)




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                      15 (10 pgs) Support/supplemental document Original Citations filed by
                   Intervenor RPD Holdings, LLC (RE: related document(s)1 Complaint). (Rukavina,
 09/14/2015        Davor)

                     16 (10 pgs) Support/supplemental document State Court Documents -- Letter
                   Requesting Citations filed by Intervenor RPD Holdings, LLC (RE: related
 09/14/2015        document(s)1 Complaint). (Rukavina, Davor)

                      17 (21 pgs) Support/supplemental document State Court Documents -- New
                   Citations Issued filed by Intervenor RPD Holdings, LLC (RE: related document(s)
 09/14/2015        1 Complaint). (Rukavina, Davor)

                     18 (5 pgs) Support/supplemental document State Court Documents -- Citation
                   Returns filed by Intervenor RPD Holdings, LLC (RE: related document(s)1
 09/14/2015        Complaint). (Rukavina, Davor)

                     19 (2 pgs) Support/supplemental document State Court Documents -- Docket
                   Sheet filed by Intervenor RPD Holdings, LLC (RE: related document(s)1
 09/14/2015        Complaint). (Rukavina, Davor)

                       Status conference held on 9/16/2015. (RE: related document(s)1 Adversary
                   case 15-03101. Complaint by Tech Pharm Services, Inc. against Reef R. Gillum,
                   ProvideRX of Waco, LLC, ProviderRx of San Antonio, LLC, ProviderRx of
                   Midland, LLC, Pharmacy Technologies, Inc., OnSiteRx of Texas, LLC, Ascribe
                   Rx Holdings, LLC, Ascribe Rx Services, LLC, Ascribe Rx Management, LLC,
                   Ascribe Rx Technologies, LLC, Ascribe Rx Services of Texas, LLC, RPD
                   Holdings, LLC. Fee Amount $350 (Attachments: # 1 Adversary Cover Sheet).
                   Nature(s) of suit: 01 (Determination of removed claim or cause). (Rukavina,
                   Davor) MODIFIED text on 8/14/2015 . filed by Plaintiff Tech Pharm Services,
                   Inc.) (HELD. SCHEDULING ORDER TO BE SUBMITTED.) (Harden, D.)
 09/16/2015        (Entered: 09/17/2015)

                      20 (2 pgs) Request for transcript regarding a hearing held on 9/16/2015. The
 11/25/2015        requested turn-around time is daily (Whittington, Nicole)

                          21 (28 pgs) Transcript regarding Hearing Held 09/16/15 RE: status
                   conference re notice of removal. THIS TRANSCRIPT WILL BE MADE
                   ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90 DAYS
                   AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS
                   02/26/2016. Until that time the transcript may be viewed at the Clerk's Office or a
                   copy may be obtained from the official court transcriber. Court
                   Reporter/Transcriber Palmer Reporting Services, Telephone number
                   PalmerRptg@aol.com, 800-665-6251. (RE: related document(s) Status conference
                   held on 9/16/2015. (RE: related document(s)1 Adversary case 15-03101.
                   Complaint by Tech Pharm Services, Inc. against Reef R. Gillum, ProvideRX of
                   Waco, LLC, ProviderRx of San Antonio, LLC, ProviderRx of Midland, LLC,
                   Pharmacy Technologies, Inc., OnSiteRx of Texas, LLC, Ascribe Rx Holdings,
                   LLC, Ascribe Rx Services, LLC, Ascribe Rx Management, LLC, Ascribe Rx




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                   Technologies, LLC, Ascribe Rx Services of Texas, LLC, RPD Holdings, LLC. Fee
                   Amount $350 (Attachments: # 1 Adversary Cover Sheet). Nature(s) of suit: 01
                   (Determination of removed claim or cause). (Rukavina, Davor) MODIFIED text
                   on 8/14/2015. filed by Plaintiff Tech Pharm Services, Inc.) (HELD.
                   SCHEDULING ORDER TO BE SUBMITTED.) (Harden, D.)). Transcript to be
 11/28/2015        made available to the public on 02/26/2016. (Palmer, Susan)

                      22 (5 pgs) Support/supplemental document (Letter to Judge Houser Regarding
                   Scheduling Order filed by Intervenor RPD Holdings, LLC (RE: related document
 02/10/2016        (s) Hearing held). (Rukavina, Davor)

                      23 (3 pgs) Notice of Substitution of Counsel and Notice of Appearance filed by
 02/11/2016        Plaintiff Tech Pharm Services, Inc.. (Warner, Michael)

                      (private) Deadlines terminated. (RE: related document(s)21 Transcript
                   regarding Hearing Held 09/16/15 RE: status conference re notice of removal.
                   THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO
                   THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING.
                   TRANSCRIPT RELEASE DATE IS 02/26/2016. Until that time the transcript
                   may be viewed at the Clerk's Office or a copy may be obtained from the official
                   court transcriber. Court Reporter/Transcriber Palmer Reporting Services,
                   Telephone number PalmerRptg@aol.com, 800-665-6251. (RE: related document
                   (s) Status conference held on 9/16/2015. (RE: related document(s)1 Adversary
                   case 15-03101. Complaint by Tech Pharm Services, Inc. against Reef R. Gillum,
                   ProvideRX of Waco, LLC, ProviderRx of San Antonio, LLC, ProviderRx of
                   Midland, LLC, Pharmacy Technologies, Inc., OnSiteRx of Texas, LLC, Ascribe
                   Rx Holdings, LLC, Ascribe Rx Services, LLC, Ascribe Rx Management, LLC,
                   Ascribe Rx Technologies, LLC, Ascribe Rx Services of Texas, LLC, RPD
                   Holdings, LLC. Fee Amount $350 (Attachments: # 1 Adversary Cover Sheet).
                   Nature(s) of suit: 01 (Determination of removed claim or cause). (Rukavina,
                   Davor) MODIFIED text on 8/14/2015. filed by Plaintiff Tech Pharm Services,
                   Inc.) (HELD. SCHEDULING ORDER TO BE SUBMITTED.) (Harden, D.)).
 02/26/2016        Transcript to be made available to the public on 02/26/2016.) (Harden, D.)

                      24 (2 pgs) Notice of hearing filed by Intervenor RPD Holdings, LLC (RE:
                   related document(s)1 Complaint filed by Plaintiff Tech Pharm Services, Inc.).
                   Status Conference to be held on 3/14/2016 at 01:15 PM at Dallas Judge Houser
 03/03/2016        Ctrm. (Rukavina, Davor)

                       25 (3 pgs) Motion to appear pro hac vice for David M. Bass. Fee Amount $25
 03/03/2016        filed by Plaintiff Tech Pharm Services, Inc. (Warner, Michael)

                     Receipt of filing fee for Motion to Appear pro hac vice(15-03101-bjh)
                   [motion,mprohac] ( 25.00). Receipt number 21885569, amount $ 25.00 (re: Doc#
 03/03/2016        25). (U.S. Treasury)

                      26 (1 pg) Order granting motion to appear pro hac vice adding David M. Bass
                   for Tech Pharm Services, Inc. (related document # 25) Entered on 3/9/2016. (Zisk,




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 03/09/2016        B)

                      27 Hearing reset (RE: related document(s)1 Adversary case 15-03101.
                   Complaint by Tech Pharm Services, Inc. against Reef R. Gillum, ProvideRX of
                   Waco, LLC, ProviderRx of San Antonio, LLC, ProviderRx of Midland, LLC,
                   Pharmacy Technologies, Inc., OnSiteRx of Texas, LLC, Ascribe Rx Holdings,
                   LLC, Ascribe Rx Services, LLC, Ascribe Rx Management, LLC, Ascribe Rx
                   Technologies, LLC, Ascribe Rx Services of Texas, LLC, RPD Holdings, LLC.
                   Nature(s) of suit: 01 (Determination of removed claim or cause). (Rukavina,
                   Davor) MODIFIED text on 8/14/2015 .) Status Conference to be held on
 03/11/2016        3/14/2016 at 12:45 PM at Dallas Judge Houser Ctrm. (Whittington, Nicole)

                      28 (2 pgs) BNC certificate of mailing - PDF document. (RE: related document
                   (s)26 Order granting motion to appear pro hac vice adding David M. Bass for Tech
                   Pharm Services, Inc. (related document 25) Entered on 3/9/2016.) No. of Notices:
 03/11/2016        2. Notice Date 03/11/2016. (Admin.)

                     29 (121 pgs; 2 docs) Brief in support filed by Intervenor RPD Holdings, LLC
                   (RE: related document(s)1 Complaint). (Attachments: # 1 Exhibit A-J) (Rukavina,
 03/14/2016        Davor)

                       Status Conference held on 3/14/2016. (RE: related document(s)1 Adversary
                   case 15-03101. Complaint by Tech Pharm Services, Inc. against Reef R. Gillum,
                   ProvideRX of Waco, LLC, ProviderRx of San Antonio, LLC, ProviderRx of
                   Midland, LLC, Pharmacy Technologies, Inc., OnSiteRx of Texas, LLC, Ascribe
                   Rx Holdings, LLC, Ascribe Rx Services, LLC, Ascribe Rx Management, LLC,
                   Ascribe Rx Technologies, LLC, Ascribe Rx Services of Texas, LLC, RPD
                   Holdings, LLC. Fee Amount $350 (Attachments: # 1 Adversary Cover Sheet).
                   Nature(s) of suit: 01 (Determination of removed claim or cause). (Rukavina,
                   Davor) MODIFIED text on 8/14/2015 . filed by Plaintiff Tech Pharm Services,
                   Inc.) (SCHEDULING ORDER TO BE SUBMITTED BY 3/24/16.) (Harden, D.)
 03/14/2016        (Entered: 03/15/2016)

                      30 (4 pgs) Scheduling Order setting hearing Entered on 3/29/2016 (RE: related
                   document(s)1 Complaint filed by Plaintiff Tech Pharm Services, Inc.). Trial
                   Docket Call date set for 10/4/2016 at 01:15 PM at Dallas Judge Houser Ctrm. Trial
 03/29/2016        to be held the week of 10/11/2016. (Zisk, B)

                      31 (5 pgs) BNC certificate of mailing - PDF document. (RE: related document
                   (s)30 Scheduling Order setting hearing Entered on 3/29/2016 (RE: related
                   document(s)1 Complaint filed by Plaintiff Tech Pharm Services, Inc.). Trial
                   Docket Call date set for 10/4/2016 at 01:15 PM at Dallas Judge Houser Ctrm. Trial
                   to be held the week of 10/11/2016.) No. of Notices: 4. Notice Date 03/31/2016.
 03/31/2016        (Admin.)

                      32 (6 pgs) Notice /Initial Disclosures of Plaintiff Pursuant to Federal Rule of
                   Civil Procedure 26(A) filed by Plaintiff Tech Pharmacy Services, LLC (RE:
 04/12/2016        related document(s)30 Order to set hearing). (Warner, Michael)




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                     33 (5 pgs) Notice Initial Disclosures filed by Intervenor RPD Holdings, LLC
 04/12/2016        (RE: related document(s)30 Order to set hearing). (Rukavina, Davor)

                      34 (3 pgs) Motion to extend time to Deadline to Mediate (RE: related
                   document(s)30 Order to set hearing) filed by Defendants Ascribe Rx Holdings,
                   LLC, Ascribe Rx Management, LLC, Ascribe Rx Services of Texas, LLC, Ascribe
                   Rx Services, LLC, Ascribe Rx Technologies, LLC, Reef R. Gillum, OnSiteRx
                   Services, Inc., OnSiteRx of Texas, LLC, Pharmacy Technologies, Inc., ProvideRX
                   of Waco, LLC, ProviderRx of Midland, LLC, ProviderRx of San Antonio, LLC,
                   Intervenor RPD Holdings, LLC, Plaintiffs Tech Pharm Services, Inc., Tech
 06/01/2016        Pharmacy Services, LLC (Rukavina, Davor)

                     35 (2 pgs) Agreed Order granting 34 motion to extend Deadline to Mediate to
 06/06/2016        June 30, 2016. Entered on 6/6/2016. (Moroles, D.)

                      36 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document
                   (s)35 Agreed Order granting 34 motion to extend Deadline to Mediate to June 30,
                   2016. Entered on 6/6/2016. (Moroles, D.)) No. of Notices: 6. Notice Date
 06/08/2016        06/08/2016. (Admin.)

                     (private) Deadlines terminated. (RE: related document(s)1 Adversary case 15-
                   03101. Complaint by Tech Pharm Services, Inc. against Reef R. Gillum,
                   ProvideRX of Waco, LLC, ProviderRx of San Antonio, LLC, ProviderRx of
                   Midland, LLC, Pharmacy Technologies, Inc., OnSiteRx of Texas, LLC, Ascribe
                   Rx Holdings, LLC, Ascribe Rx Services, LLC, Ascribe Rx Management, LLC,
                   Ascribe Rx Technologies, LLC, Ascribe Rx Services of Texas, LLC, RPD
                   Holdings, LLC. Fee Amount $350 (Attachments: # 1 Adversary Cover Sheet).
                   Nature(s) of suit: 01 (Determination of removed claim or cause). (Rukavina,
                   Davor) MODIFIED text on 8/14/2015 . filed by Plaintiff Tech Pharm Services,
 06/13/2016        Inc.) (Kucera, J.)

                     37 (10 pgs; 2 docs) Motion to withdraw as attorney (Franklin Hayward LLP's
                   Unopposed Motion (i) to Withdraw as Counsel for Defendant Reef Gillum and (ii)
                   Substitute Munsch Hardt Kopf & Harr, P.C., as Counsel for Defendant Reef
                   Gillum) filed by Attorney Franklin Hayward LLP (Attachments: # 1 Proposed
 06/15/2016        Order) (Annable, Zachery)

                       38 (4 pgs) Certificate Conference (Amended Certificate of Conference Related
                   to Unopposed Motion to (i) Withdraw as Counsel for Defendant Reef Gillum and
                   (ii) Substitute Munsch Hardt Kopf & Harr, P.C., as Counsel for Defendant Reef
                   Gillum) filed by Attorney Franklin Hayward LLP (RE: related document(s)37
                   Motion to withdraw as attorney (Franklin Hayward LLP's Unopposed Motion (i)
                   to Withdraw as Counsel for Defendant Reef Gillum and (ii) Substitute Munsch
                   Hardt Kopf & Harr, P.C., as Counsel for Defendant Reef Gillum)). (Annable,
 06/21/2016        Zachery)

                     39 (3 pgs) Order granting motion to withdraw as attorney (attorney Franklin
                   Hayward LLP and Zachery Z. Annable terminated). (related document 37).




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                   ORDERED that Munsch Hardt Kopf & Harr, P.C. is authorized to immediately
                   substitute in and represent Defendant Reef R. Gillum ( Dr. Gillum) .Entered on
 06/23/2016        6/23/2016. (Moroles, D.)

                      40 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document
                   (s)39 Order granting motion to withdraw as attorney (attorney Franklin Hayward
                   LLP and Zachery Z. Annable terminated). (related document 37). ORDERED that
                   Munsch Hardt Kopf & Harr, P.C. is authorized to immediately substitute in and
                   represent Defendant Reef R. Gillum ( Dr. Gillum) .Entered on 6/23/2016.
 06/25/2016        (Moroles, D.)) No. of Notices: 7. Notice Date 06/25/2016. (Admin.)

                     41 (11 pgs) Answer to original petition in intervention of RPD Holdings, LLC
                   (RE: Related document(s) 8 Support/supplemental document State Court
                   Document--Petition in Intervention of RPD Holdings, LLC filed by Intervenor
 07/05/2016        RPD Holdings, LLC) filed by Tech Pharm Services, Inc. . (Rielly, Bill).

                      42 (6 pgs) Answer to plea to jurisdiction, special exceptions, answer and
                   counterclaims of the Ascribe defendants (RE: Related document(s) 7
                   Support/supplemental document State Court Document--Original Answer and
                   Counterclaims of OnSiteRx of Texas, LLC, AscribeRx Holdings, LLC, AscribeRx
                   Services, LLC, AscribeRx Management, LLC, AscribeRx Technologies, LLC, and
                   AscribeRx Services of Texas, LLC filed by Intervenor RPD Holdings, LLC) filed
 07/05/2016        by Tech Pharm Services, Inc. . (Rielly, Bill).

                      43 (10 pgs; 2 docs) Motion to dismiss 1. Reef Gillum; 2. OnSiteRx of Texas,
                   LLC; 3. Ascribe Rx Holdings, LLC; 4. Ascribe Rx Services, LLC; 5. Ascribe Rx
                   Management, LLC; 6. Ascribe Rx Technologies, LLC; and 7. Ascribe Rx Services
                   of Texas, LLC (AGREED MOTION TO DISMISS) filed by Defendants Ascribe Rx
                   Holdings, LLC, Ascribe Rx Management, LLC, Ascribe Rx Services of Texas,
                   LLC, Ascribe Rx Services, LLC, Ascribe Rx Technologies, LLC, Reef R. Gillum,
                   OnSiteRx of Texas, LLC, Intervenor RPD Holdings, LLC (Attachments: # 1
 08/17/2016        Proposed Order) (Rukavina, Davor)

                      44 (6 pgs) Stipulation and Agreed Order granting motion to dismiss parties
                   without prejudice. Ascribe Rx Services of Texas, LLC; Ascribe Rx Services, LLC;
                   Ascribe Rx Technologies, LLC; Reef R. Gillum; OnSiteRx of Texas, LLC;
                   Ascribe Rx Holdings, LLC and Ascribe Rx Management, LLC Terminated
 08/19/2016        (related document # 43) Entered on 8/19/2016. (Zisk, B)

                     45 (3 pgs) Motion to extend time to Discovery Cutoff (RE: related document(s)
                   30 Order to set hearing) filed by Intervenor RPD Holdings, LLC, Plaintiff Tech
 08/19/2016        Pharmacy Services, LLC (Rukavina, Davor)

                      46 (7 pgs) BNC certificate of mailing - PDF document. (RE: related document
                   (s)44 Stipulation and Agreed Order granting motion to dismiss parties without
                   prejudice. Ascribe Rx Services of Texas, LLC; Ascribe Rx Services, LLC; Ascribe
                   Rx Technologies, LLC; Reef R. Gillum; OnSiteRx of Texas, LLC; Ascribe Rx
                   Holdings, LLC and Ascribe Rx Management, LLC Terminated (related document




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 08/21/2016        43) Entered on 8/19/2016.) No. of Notices: 3. Notice Date 08/21/2016. (Admin.)

                      47 (2 pgs) Agreed Order granting 45 Motion to extend time for discovery
 08/23/2016        cutoff. Entered on 8/23/2016. (Zisk, B)

                      48 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document
                   (s)47 Agreed Order granting 45 Motion to extend time for discovery cutoff.
 08/25/2016        Entered on 8/23/2016.) No. of Notices: 2. Notice Date 08/25/2016. (Admin.)

                     49 (3 pgs) Motion to deposit funds into court registry filed by Intervenor RPD
 08/26/2016        Holdings, LLC (Berghman, Thomas)

                      50 (2 pgs) Notice of hearing filed by Intervenor RPD Holdings, LLC (RE:
                   related document(s)49 Motion to deposit funds into court registry filed by
                   Intervenor RPD Holdings, LLC). Hearing to be held on 10/5/2016 at 01:15 PM
 09/07/2016        Dallas Judge Houser Ctrm for 49, (Berghman, Thomas)

                     51 (9 pgs; 2 docs) Motion for protective order - Joint Motion for Protective
                   Order filed by Intervenor RPD Holdings, LLC, Plaintiff Tech Pharm Services, Inc.
 09/07/2016        (Attachments: # 1 Exhibit A - Agreed Protective Order) (Berghman, Thomas)

                     52 (7 pgs) Motion to continue hearing on (related documents Hearing held, 31
                   BNC certificate of mailing - PDF document)Motion to Continue Trial Setting filed
 09/12/2016        by Plaintiff Tech Pharmacy Services, LLC (Warner, Michael)

                      53 (5 pgs; 2 docs) Motion for expedited hearing(related documents 52 Motion
                   to continue) re Motion to Continue Trial Setting filed by Plaintiff Tech Pharmacy
 09/12/2016        Services, LLC (Attachments: # 1 Proposed Order) (Warner, Michael)

                      54 (6 pgs) Agreed Protective Order (related document # 51). Entered on
 09/15/2016        9/15/2016. (Moroles, D.)

                      55 (7 pgs) BNC certificate of mailing - PDF document. (RE: related document
                   (s)54 Agreed Protective Order (related document 51). Entered on 9/15/2016.
 09/17/2016        (Moroles, D.)) No. of Notices: 5. Notice Date 09/17/2016. (Admin.)

                     56 (3 pgs) Order granting motion to continue hearing on (related document #
                   52) (related documents Complaint) Trial Docket Call date set for 12/5/2016 at
 09/19/2016        01:15 PM at Dallas Judge Houser Ctrm. Entered on 9/19/2016. (Blanco, J.)

                     57 (17 pgs) Objection to (related document(s): 49 Motion to deposit funds into
                   court registry filed by Intervenor RPD Holdings, LLC) filed by Plaintiff Tech
 09/19/2016        Pharmacy Services, LLC. (Warner, Michael)

                      58 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document
                   (s)56 Order granting motion to continue hearing on (related document 52) (related
                   documents Complaint) Trial Docket Call date set for 12/5/2016 at 01:15 PM at




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                   Dallas Judge Houser Ctrm. Entered on 9/19/2016. (Blanco, J.)) No. of Notices: 3.
 09/21/2016        Notice Date 09/21/2016. (Admin.)

                      59 (3 pgs) Agreed Order granting motion to deposit funds into court registry
 10/03/2016        (related document # 49) Entered on 10/3/2016. (Whitaker, Sheniqua)

                      60 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document
                   (s)59 Agreed Order granting motion to deposit funds into court registry (related
                   document 49) Entered on 10/3/2016.) No. of Notices: 1. Notice Date 10/05/2016.
 10/05/2016        (Admin.)

                      Receipt of Registry Funds - $24000.00 by MM. Receipt Number 335575.
 10/17/2016        (admin)

                     (private) Flags set-reset. Flags set: FUNDS (RE: related document(s)59 Agreed
                   Order granting motion to deposit funds into court registry (related document 49)
 10/18/2016        Entered on 10/3/2016.) (Castillo, Tonya)

                       61 (12 pgs) Notice of Subpoenas on Reef Gillum Pursuant to Fed. R. Civ. P. 45
 10/19/2016        filed by Plaintiff Tech Pharmacy Services, LLC. (Warner, Michael)

                     62 (14 pgs) Motion for sanctions Discovery Sanctions against Tech Pharmacy
 10/25/2016        Solutions, LLC filed by Intervenor RPD Holdings, LLC (Rukavina, Davor)

                      63 (91 pgs) Support/supplemental document Appendix in Support filed by
                   Intervenor RPD Holdings, LLC (RE: related document(s)62 Motion for sanctions
 10/25/2016        Discovery Sanctions against Tech Pharmacy Solutions, LLC). (Rukavina, Davor)

                     64 (2 pgs) Notice of Trial Docket Call hearing filed by Intervenor RPD
                   Holdings, LLC (RE: related document(s)1 Complaint filed by Plaintiff Tech
                   Pharm Services, Inc.). Trial Docket Call date set for 1/3/2017 at 01:15 PM at
 10/26/2016        Dallas Judge Houser Ctrm. (Berghman, Thomas)

                       65 (88 pgs; 3 docs) Motion to compel re: discovery Motion to Compel RPD
                   Holdings, LLC to Respond to Plaintiff's Requests for Production of Documents
                   filed by Plaintiff Tech Pharmacy Services, LLC (Attachments: # 1 Exhibit A - F #
 10/26/2016        2 Proposed Order) (Warner, Michael)

                     66 (2 pgs) Notice of hearing filed by Plaintiff Tech Pharmacy Services, LLC
                   (RE: related document(s)65 Motion to compel re: discovery filed by Plaintiff Tech
                   Pharmacy Services, LLC). Hearing to be held on 11/28/2016 at 09:00 AM Dallas
 10/31/2016        Judge Houser Ctrm for 65, (Warner, Michael)


                       67 (2 pgs) *** INCORRECT ENTRY. WRONG CASE *** Notice of hearing
                   filed by Intervenor RPD Holdings, LLC (RE: related document(s)62 Motion for
                   sanctions filed by Intervenor RPD Holdings, LLC). Hearing to be held on
                   11/28/2016 at 09:00 AM Dallas Judge Houser Ctrm for 62, (Rukavina, Davor)




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 11/14/2016        Modified TEXT on 11/14/2016 (Whittington, Nicole).

                      68 (2 pgs) Notice of hearing filed by Intervenor RPD Holdings, LLC (RE:
                   related document(s)62 Motion for sanctions filed by Intervenor RPD Holdings,
                   LLC). Hearing to be held on 11/28/2016 at 09:00 AM Dallas Judge Houser Ctrm
 11/14/2016        for 62, (Rukavina, Davor)

                      69 (121 pgs; 2 docs) Objection to (related document(s): 62 Motion for
                   sanctions Discovery Sanctions against Tech Pharmacy Solutions, LLC filed by
                   Intervenor RPD Holdings, LLC)Objection Of Tech Pharmacy Services, LLC To
                   RPD Holdings, LLCs Motion For Sanctions And To Compel Discovery filed by
                   Plaintiff Tech Pharmacy Services, LLC. (Attachments: # 1 Exhibit A - H)
 11/18/2016        (Warner, Michael)

                      70 (20 pgs) Objection to (related document(s): 65 Motion to compel re:
                   discovery Motion to Compel RPD Holdings, LLC to Respond to Plaintiff's
                   Requests for Production of Documents filed by Plaintiff Tech Pharmacy Services,
 11/21/2016        LLC) filed by Intervenor RPD Holdings, LLC. (Berghman, Thomas)

                     71 (442 pgs; 2 docs) Support/supplemental document Appendix in Support of
                   RPD Holdings, LLC's Objection to Tech Pharm's Motion to Compel (Part I) filed
                   by Intervenor RPD Holdings, LLC (RE: related document(s)70 Objection).
 11/21/2016        (Attachments: # 1 Appendix (Part II)) (Berghman, Thomas)

                        Hearing held on 11/28/2016. (RE: related document(s)62 Motion for sanctions
                   Discovery Sanctions against Tech Pharmacy Solutions, LLC filed by Intervenor
                   RPD Holdings, LLC, 65 Motion to compel re: discovery Motion to Compel RPD
                   Holdings, LLC to Respond to Plaintiff's Requests for Production of Documents
                   filed by Plaintiff Tech Pharmacy Services, LLC.) (RESOLVED AS STATED ON
                   THE RECORD. ORDER TO BE SUBMITTED. ISSUE REGARDING
                   PRIVILEGE LOG UNDER ADVISEMENT.) (Whittington, Nicole) (Entered:
 11/28/2016        11/30/2016)

                       Hearing held on 12/29/2016. (RE: related document(s)65 Motion to compel re:
                   discovery Motion to Compel RPD Holdings, LLC to Respond to Plaintiff's
                   Requests for Production of Documents filed by Plaintiff Tech Pharmacy Services,
                   LLC.) (RULING ANNOUNCED ON THE RECORD.) (Whittington, Nicole)
 11/29/2016        (Entered: 12/01/2016)

                      72 (1 pg) Request for transcript regarding a hearing held on 11/28/2016. The
 12/01/2016        requested turn-around time is 7-day expedited (Whittington, Nicole)


                           73 (101 pgs) Transcript regarding Hearing Held 11/28/16 RE: Motion to
                   Compel. THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY
                   AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF
                   FILING. TRANSCRIPT RELEASE DATE IS 03/6/2017. Until that time the
                   transcript may be viewed at the Clerk's Office or a copy may be obtained from the




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                   official court transcriber. Court Reporter/Transcriber J&J Court Transcribers,
                   Telephone number 609-586-2311. (RE: related document(s) Hearing held on
                   11/28/2016. (RE: related document(s)62 Motion for sanctions Discovery Sanctions
                   against Tech Pharmacy Solutions, LLC filed by Intervenor RPD Holdings, LLC,
                   65 Motion to compel re: discovery Motion to Compel RPD Holdings, LLC to
                   Respond to Plaintiff's Requests for Production of Documents filed by Plaintiff
                   Tech Pharmacy Services, LLC.) (RESOLVED AS STATED ON THE RECORD.
                   ORDER TO BE SUBMITTED. ISSUE REGARDING PRIVILEGE LOG
                   UNDER ADVISEMENT.)). Transcript to be made available to the public on
 12/06/2016        03/6/2017. (Bowen, James)

                      74 (3 pgs) Order granting motion for sanctions and to compel discovery
 12/14/2016        (related document # 62) Entered on 12/14/2016. (Blanco, J.)

                      75 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document
                   (s)74 Order granting motion for sanctions and to compel discovery (related
                   document 62) Entered on 12/14/2016. (Blanco, J.)) No. of Notices: 2. Notice Date
 12/16/2016        12/16/2016. (Admin.) (Entered: 12/17/2016)

                     76 (4 pgs) Order on motion to compel re: discovery(related document # 65)
 12/23/2016        Entered on 12/23/2016. (Mathews, M.)

                      77 (5 pgs) BNC certificate of mailing - PDF document. (RE: related document
                   (s)76 Order on motion to compel re: discovery(related document 65) Entered on
 12/25/2016        12/23/2016. (Mathews, M.)) No. of Notices: 3. Notice Date 12/25/2016. (Admin.)

                      78 (20 pgs) Proposed pre-trial order filed by Intervenor RPD Holdings, LLC,
 12/27/2016        Plaintiff Tech Pharm Services, Inc.. (Rukavina, Davor)

                      79 (32 pgs) Proposed findings of fact and conclusions of law filed by
                   Intervenor RPD Holdings, LLC (RE: related document(s)1 Complaint). (Rukavina,
 12/27/2016        Davor)

                      80 (4 pgs) Witness and Exhibit List - RPD's Trial Witness & Exhibit List filed
                   by Intervenor RPD Holdings, LLC (RE: related document(s)1 Complaint).
 12/27/2016        (Berghman, Thomas)

                     81 (19 pgs) Proposed findings of fact and conclusions of law filed by Plaintiff
                   Tech Pharmacy Services, LLC (RE: related document(s)1 Complaint). (Warner,
 12/27/2016        Michael)

                      82 (9 pgs) Witness and Exhibit List of Tech Pharmacy Services, LLC for Trial
                   to be Held Commencing January 11, 2017, filed by Plaintiff Tech Pharmacy
 12/27/2016        Services, LLC (RE: related document(s)1 Complaint). (Warner, Michael)

                     83 (34 pgs) Brief in opposition filed by Plaintiff Tech Pharmacy Services, LLC
 12/27/2016        (RE: related document(s)41 Answer to complaint). (Warner, Michael)




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                     84 (4 pgs) Amended Witness and Exhibit List filed by Intervenor RPD
                   Holdings, LLC (RE: related document(s)80 List (witness/exhibit/generic)).
 12/27/2016        (Berghman, Thomas)

                      85 (36 pgs) Brief in support filed by Intervenor RPD Holdings, LLC (RE:
                   related document(s)79 Proposed findings of fact and conclusions of law).
 12/27/2016        (Berghman, Thomas)

 12/29/2016           86 (21 pgs) Joint Pre-Trial order. Entered on 12/29/2016 (Whitaker, Sheniqua)

                     87 (22 pgs) BNC certificate of mailing - PDF document. (RE: related
                   document(s)86 Joint Pre-Trial order. Entered on 12/29/2016) No. of Notices: 4.
 12/31/2016        Notice Date 12/31/2016. (Admin.)

                       Trial Docket Call held on 1/3/2017. (RE: related document(s)1 Adversary case
                   15-03101. Complaint by Tech Pharm Services, Inc. against Reef R. Gillum,
                   ProvideRX of Waco, LLC, ProviderRx of San Antonio, LLC, ProviderRx of
                   Midland, LLC, Pharmacy Technologies, Inc., OnSiteRx of Texas, LLC, Ascribe
                   Rx Holdings, LLC, Ascribe Rx Services, LLC, Ascribe Rx Management, LLC,
                   Ascribe Rx Technologies, LLC, Ascribe Rx Services of Texas, LLC, RPD
                   Holdings, LLC. Fee Amount $350 (Attachments: # 1 Adversary Cover Sheet).
                   Nature(s) of suit: 01 (Determination of removed claim or cause). (Rukavina,
                   Davor) MODIFIED text on 8/14/2015 . filed by Plaintiff Tech Pharm Services,
                   Inc.) (TRIAL TO BEGIN ON 9:00AM ON 1/11/17.) (Harden, D.) (Entered:
 01/03/2017        01/04/2017)

                      88 Trial set (RE: related document(s)1 Adversary case 15-03101. Complaint by
                   Tech Pharm Services, Inc. against Reef R. Gillum, ProvideRX of Waco, LLC,
                   ProviderRx of San Antonio, LLC, ProviderRx of Midland, LLC, Pharmacy
                   Technologies, Inc., OnSiteRx of Texas, LLC, Ascribe Rx Holdings, LLC, Ascribe
                   Rx Services, LLC, Ascribe Rx Management, LLC, Ascribe Rx Technologies,
                   LLC, Ascribe Rx Services of Texas, LLC, RPD Holdings, LLC. Fee Amount $350
                   (Attachments: # 1 Adversary Cover Sheet). Nature(s) of suit: 01 (Determination of
                   removed claim or cause). (Rukavina, Davor) MODIFIED text on 8/14/2015 . filed
                   by Plaintiff Tech Pharm Services, Inc.) Trial date set for 1/11/2017 at 09:00 AM at
 01/03/2017        Dallas Judge Houser Ctrm. (Harden, D.) (Entered: 01/04/2017)

                     89 (2 pgs) Stipulation by RPD Holdings, LLC, Tech Pharm Services, Inc.,
                   Tech Pharmacy Services, LLC and As between Tech Pharm Services, Inc. and
                   RPD Holdings, LLC. filed by Intervenor RPD Holdings, LLC, Plaintiffs Tech
                   Pharm Services, Inc., Tech Pharmacy Services, LLC (RE: related document(s) 88
 01/09/2017        Hearing set/continued). (Berghman, Thomas)

                       Receipt of Registry Funds - $4000.00 by MM. Receipt Number 335792.
                   (admin). Related document(s) 59 Order on motion to deposit funds into court
                   registry. Modified to create linkage to order granting authority to deposit funds
 01/09/2017        into the Registry of the Court on 1/10/2017 (Castillo, Tonya).




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                     90 (3 pgs) Motion to appear pro hac vice for Nicholas J. Brannick. Fee Amount
                   $25 filed by Plaintiffs Tech Pharm Services, Inc. (Warner, Michael) MODIFIED
 01/11/2017        TEXT on 1/12/2017 (Brown, D.).

                     Receipt of filing fee for Motion to Appear pro hac vice(15-03101-bjh)
                   [motion,mprohac] ( 25.00). Receipt number 23176644, amount $ 25.00 (re: Doc#
 01/11/2017        90). (U.S. Treasury)

                       Trial held on 1/11/2017. (RE: related document(s)1 Adversary case 15-03101.
                   Complaint by Tech Pharm Services, Inc. against Reef R. Gillum, ProvideRX of
                   Waco, LLC, ProviderRx of San Antonio, LLC, ProviderRx of Midland, LLC,
                   Pharmacy Technologies, Inc., OnSiteRx of Texas, LLC, Ascribe Rx Holdings,
                   LLC, Ascribe Rx Services, LLC, Ascribe Rx Management, LLC, Ascribe Rx
                   Technologies, LLC, Ascribe Rx Services of Texas, LLC, RPD Holdings, LLC. Fee
                   Amount $350 (Attachments: # 1 Adversary Cover Sheet). Nature(s) of suit: 01
                   (Determination of removed claim or cause). (Rukavina, Davor) MODIFIED text
                   on 8/14/2015 . filed by Plaintiff Tech Pharm Services, Inc.) (HEARING HELD
                   AND CONCLUDED; MATTER UNDER ADVISEMENT.) (Harden, D.)
 01/11/2017        (Entered: 01/12/2017)

                      91 (1 pg) Order granting motion to appear pro hac vice adding Nicholas
                   Brannick for Tech Pharm Services, Inc. (related document # 90) Entered on
 01/12/2017        1/12/2017. (Brown, D.)

                      92 (2 pgs) BNC certificate of mailing - PDF document. (RE: related document
                   (s)91 Order granting motion to appear pro hac vice adding Nicholas Brannick for
                   Tech Pharm Services, Inc. (related document 90) Entered on 1/12/2017. (Brown,
 01/14/2017        D.)) No. of Notices: 2. Notice Date 01/14/2017. (Admin.) (Entered: 01/15/2017)

                      93 (34 pgs) Findings of fact and conclusions of law following trial (RE: related
                   document(s)1 Complaint filed by Plaintiff Tech Pharm Services, Inc.). Entered on
 01/18/2017        1/18/2017 (Harden, D.)

                      94 (35 pgs) BNC certificate of mailing - PDF document. (RE: related
                   document(s)93 Findings of fact and conclusions of law following trial (RE: related
                   document(s)1 Complaint filed by Plaintiff Tech Pharm Services, Inc.). Entered on
 01/20/2017        1/18/2017 (Harden, D.)) No. of Notices: 2. Notice Date 01/20/2017. (Admin.)

                     95 (6 pgs) Support/supplemental document (Letter to Court Regarding Form of
                   Proposed Judgment) filed by Intervenor RPD Holdings, LLC (RE: related
 01/31/2017        document(s)93 Findings of fact and conclusions of law). (Rukavina, Davor)

 02/03/2017           96 (4 pgs) Final Judgment. Entered on 2/3/2017 (Blanco, J.)

                      97 (5 pgs) BNC certificate of mailing - PDF document. (RE: related document
                   (s)96 Final Judgment. Entered on 2/3/2017 (Blanco, J.)) No. of Notices: 1. Notice
 02/05/2017        Date 02/05/2017. (Admin.)




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                     98 (2 pgs) Notice of appeal . Fee Amount $298 filed by Intervenor RPD
                   Holdings, LLC (RE: related document(s)96 Judgment). Appellant Designation due
 02/14/2017        by 02/28/2017. (Rukavina, Davor)

                      Receipt of filing fee for Notice of appeal(15-03101-bjh) [appeal,ntcapl]
                   ( 298.00). Receipt number 23321561, amount $ 298.00 (re: Doc# 98). (U.S.
 02/14/2017        Treasury)




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                                         REFORM, CONVERTED, SealedDocument, EXHIBITS


                                  U.S. Bankruptcy Court
                             Northern District of Texas (Dallas)
                            Bankruptcy Petition #: 13-30678-bjh7
                                         Internal Use Only
                                                                            Date filed:   02/06/2013
Assigned to: Barbara J. Houser                                       Date converted:      09/04/2013
Chapter 7                                                               341 meeting:      12/16/2013
Previous chapter 11                                        Deadline for filing claims:    03/17/2014
Original chapter 11
Voluntary
Asset



Debtor                                               represented by Kevin S. Wiley, Jr.
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Trustee                                              represented by John S. Brannon
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                                                                   Email: dgrtrustee@bcylawyers.com

U.S. Trustee                                         represented by Meredyth Kippes



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United States Trustee                                         United States Trustee
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